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EXHIBIT

 

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dave a satreceiption, wx) deeded to pest this outs,

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Gllowed to kang coaching nice the NCAA investipation was finatieed, however the scloal waa stripped if
osttuity titled duting his time @¢ a coach at Southeastern Misscuri "SEM" and the school vas ultimately
placa on probation.

SEMO/NCAA investigation timeline

   

     

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aeivellesl al the cereuney that sopk place dast seen. (REL Sinyley

*Jan. 20, 2006 ~ Southeast Missouri State University president Dr, Ken Dobbins
asks the Ohio Valley Conference to conduct a review of the women's basketball
program based on unspecified allegations of NCAA violations made by a former
assistant women’s basketball coach, according to a letter from Dobbins to OVC
conunissioner Dr Jon Steink:

*Feb. 8, 2006 — Dobbins makes a formal request of the OVC to investigate alleged
violations. Shortly after the NGAA is contacted per standard policy of the OVC; the
NCAA decides to- investigate based on information it also has received.

*¥eb. 20, 2006—~ Folowing a request from the Southeast Missourian for comment,
Southeast Missouri State and the Obio Valley. Conference issue statements
acknowledging that an investigation of the women's basketball program is‘ taking
Place,

# March 4, 2006 - The Southexst women’s team, co-champions of the OVC during
the regular sezson, beat Tennessee Tech puso in the championship. game of the
conference tournament to earn the program's first ile and first NCAA towmament

appearance,

# March 18, 2006 ~ Southeast falls to Stanford 72-45 in an NCAA tournament game
in Denver,

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April az, 2006 -- Women's basketball coach B.J. Smith receives a three-year
contract extension with a raise from $62,000 to $75,000 after a four-year period in
which the program was 79-44 with its first comference tifle and two touwmey romner-
up finishes.

 
 
     

 
  

# June 30, 2006 -- Southeast releases the findings of a preliminary report conducted
by The Compliance Group on behalf of the O°VC. The report finds several prospective
and enrolled student-athletes received transportation arranged by a member of the
basketball staff to airports, prospects were transported to campus by a student-athlete
for official visits, the university provided a per diem during a holiday break when it
was not appropriate, a prospect net yet enrolled received the use of a staff member's
computer and transportation to move a used bed, prospects stayed in a house during
the summer without paying the appropriate rent or not paying any remt and the
coaching staff had inappropriate contact by observing summer workouts of
prospective and enrolled students. The university imposed sanctions recommended
in the report, incleding reducing the number of scholarships for zo06-o7 from a5 to
12, reducing the number of recruiting days for 2006-07 from 85 to Bo and restricting
Smith from off-campus recruiting activities during the July 2006 evaluation period to
improve monitoring of summier activities. According to the mews release, Southeast
expected the NCAA enforcement staff to complete its investigation by August,

¢ Aug. 26, 2006 — Dobbins, impressed by the thoroughmess and expediency of the
NCAA review, tells the Southeast Missourian he is optimistic the university may hear
something on its fate in September,

#Oct. 11, 2006 —- Southeast was picked for fifth in the OVC preseason women's
basketball poll.

# Nov. go, 2006 —- Two days before Southeast was to open its season at Tulsa, Smith
is placed on paid personal leave by the university for undisclosed reasons. The terms
of his leave say Smith may not have contact with the team im games or practices. John
Ishee is named the acting head coach.

Dec. 6, 2006 — Smith's resignation, retroactive to Dec, 4, was announced in.a joint
statement by Smith and the university. The agreement pays Smith his base salary
through May 31, 2007. According to a Southeast Missourian story, the disciplinary
action against Smith taken the previows month centers around a "Coaching of
Basketball” class that Smith instructed which met infrequently im the first few weeks
of the semester.

# Jan. 20, 2007 — Smith returns to campus for the ceremony to raise the program's
goo5-o06 OVC championship banners.

#Feb. 12, 2007-- In response to a request from the Southeast Missourian, the
university releases documents including a July 2004 memo from then-assistant AD
for compliance Alicia Scott that said the women's basketball program was operating
with disregard to university, MCAA, ethical and moral policies. The memo alleged a
soo3 intemal investigation of the program was undermined by a concerted effort.

nun March 2, 2007 -- Two days after Ishee was named the OVC coach of the year, the
Redhawks capture a second straight OVC tournament title and NCAA berth.
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# March 5, zoo7 — [shee is named head coach witha three; “year deal,

March «7, zoo7 -—~ Southeast falls y4-6o to Oklahoma in an NCAA tournament
fame in Austin, Texas.

+ Ane. 20-12, 2007—- The NCAA Committee on Infractions reviews the report and

accepts the findings but decides a review of penalties is necessary, according to a letter
sent by a member of the committee to the aniversity in September.

#0ct. 5-7, zoo7-- The NCAA Committee on Infractions decides that further
penalties against Southeast should include vacating the university's records from
so002-03 through 2oo5-o6 and that the university's 2006 NCAA tournament
appearance should be stricken. The committee informed the university in a letter
dated Oct. 9 that the violations merited this action because they were serious and

intentional, included direct involvement by a coach, were large -in number and
invelved ineligible competition with a finding of a lack of institutional control.

tNov, 8, zoo7-— The university announces Dobbins, athletic director Don
Kaverman, OVC commissioner Steinbrecher and Chuck Smrt from The Compliance
Group intend to appear before the NCAA Committee om Iniractions om Saturday te
appeal the decision.

Dec. 5, 2007 -- Dobbins, after recently finding out the expedited appeal has been
canceled with former coach Smith asking for a full hearing, sends a letter to the NCAA
expressing his disappointment that the appeal has beem pushed off until April or Jone
of 2008. The university releases this correspondence as well as the letter from the
NCAA Committee on Infractions disclosing the further penalties.
